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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA
CR 18-029-SLP

UNITED STATES OF AMERICA,

Plaintiff, No.

 

vs. Violations: 18 U.S.C. § 1546(a)

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- 18 U.S.C. § 2
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NAIF ABDULAZIZ M. ALFALLAJ, 18 U.S.C. § 1001(a)(2)

 

 

  
 

a/k/a Al-Muthana Al-Najdi,
Defendant.
INDICTMENT FEB 06 2018
The Federal Grand Jury charges: Us. aiRW aa ‘i ST WESTERN DIST OKLA
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Background

1. On October 8, 1999, the Secretary of State designated al Qaeda as a
Foreign Terrorist Organization (“FTO”) pursuant to Section 219 of the
Immigration and Nationality Act. Al Qaeda is an international terrorist group
dedicated to opposing non-Islamic governments, including the United States,
with force and violence. Prior to and during the year 2000 and up until late
2001, al Qaeda operated al Farooq, a terrorist training camp near Kandahar,
Afghanistan. Al Qaeda used the al Faroog camp to instruct and train
members and associates of al Qaeda in the use of firearms, explosives, chemical
weapons, and other weapons of mass destruction. To date, al Qaeda remains a
designated FTO.

2. At all times relevant to this Indictment, NAIF ABDULAZIZ M.

ALFALLAJ was a citizen of the Kingdom of Saudi Arabia.
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3. In and around September 2000, ALFALLA, attended the al
Faroog training camp. In connection with attendance at the camp and while
in Afghanistan, he completed a “Mujahedeen Data Form” on which he identified
himself by his “kunya,” or nickname: Al-Muthana Al-Najdi. He stated in
Arabic on this form that his hobbies included “more training on military
matters” and that he wanted to be “a mujahid for the sake of God.”

4, On or about October 18, 2011, while in the Kingdom of Saudi
Arabia, ALFALLAJ applied for an F-2 nonimmigrant visa to enter the United
States based on his status as the spouse of a person applying for an F-1
nonimmigrant student visa. ALFALLA.J made materially false statements on
this application, including:

(a) He responded “No” to the question: “Do you seek to engage in
terrorist activities while in the United States or have you ever engaged in
terrorist activities?”

(b) He responded “No” to the question: “Have you ever or do you
intend to provide financial assistance or other support to terrorists or terrorist
organizations?”

(c) He responded “No” to the question: “Do you have any specialized
skills or training, including firearms, explosives, nuclear, biological, or chemical

experience?”
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(d) In response to a request to provide a list of countries visited in
the five years before the date of the application, he failed to disclose he had
traveled to Syria in 2008.

5. On or about October 23, 2011, ALFALLAJ was granted an F-2
nonimmigrant visa.

6. ALFALLAJ entered the United States for the first time on or
about December 29, 2011. On or about March 22, 2012, ALFALLAJ became a
resident of the Western District of Oklahoma.

COUNT 1
(Visa Fraud)

7. The Federal Grand Jury incorporates paragraphs 1-6 by reference.
8. From in or about March 2012 to the present, in the Western
District of Oklahoma,

NAIF ABDULAZIZ M. ALFALLAJ,
a/k/a Al-Muthana Al-Najdi,

 

 

knowingly possessed a nonimmigrant visa for entry into and as evidence of
authorized stay in the United States that he knew to have been procured by
means of materially false claims and statements and to have been otherwise
procured by fraud.

All in violation of Title 18, United States Code, Section 1546(a).

COUNT 2
(Visa Fraud)

9. The Federal Grand Jury incorporates paragraphs 1-6 by reference.

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10. On or about October 2, 2016, in the Western District of Oklahoma,

NAIF ABDULAZIZ M. ALFALLAJ,
a/k/a Al-Muthana Al-Najdi,

 

 

knowingly used a nonimmigrant visa for entry into and as evidence of
authorized stay in the United States that he knew to have been procured by
means of materially false claims and statements and to have been otherwise
procured by fraud. In particular, ALFALLAJ submitted his F-2 visa to the
Transportation Security Administration in connection with a request for flight
training at a private flight school in the Western District of Oklahoma.

All in violation of Title 18, United States Code, Section 1546(a), and Title
18, United States Code, Section 2.

COUNT 3
(False Statement)

11. The Federal Grand Jury incorporates paragraphs 1-6 by reference.
12. Onor about December 4, 2017, in Oklahoma City, in the Western
District of Oklahoma,

NAIF ABDULAZIZ M. ALFALLAJ,
a/k/a Al-Muthana Al-Najdi,

 

 

in a matter within the jurisdiction of the Federal Bureau of Investigation and
the Department of Homeland Security, parts of the executive branch of the
United States, knowingly and willfully made a materially false, fictitious, and
fraudulent statement and representation during an investigation involving

international terrorism. In particular, ALFALLAJ stated to federal law

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enforcement agents that he had never visited Afghanistan, had never
participated in religious, tactical, or military training outside of the Kingdom of
Saudi Arabia, and otherwise affirmed that all the answers on his nonimmigrant
visa application dated October 18, 2011, were true and correct, when he knew
that he had participated in religious, tactical, and military training in
Afghanistan at the al Farooq training camp.

All in violation of Title 18, United States Code, Section 1001(a)(2).

A TRUE BILL:

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FOREPERSON OF THE GRAND JURY

ROBERT J. TROESTER
Acting United States Attorney

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T DILLON
SCOTT E. WILLIAMS
Assistant U.S. Attorneys

C. ALEXANDRIA BOGLE
Trial Attorney
National Security Division
